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2     CHRISTINA M. CORCORAN, CA Bar #344683
      Assistant Federal Defender
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      Telephone: (559) 487-5561
5     Fax: (559) 487-5950
6     Attorneys for Defendant
      PAUL NEW
7
8                               IN THE UNITED STATES DISTRICT COURT
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                       Case No. 1:23-cr-00096-NODJ-BAM
12                      Plaintiff,                    AMENDED STIPULATION AND ORDER
                                                      TO CONTINUE STATUS CONFERENCE
13            v.
                                                       Judge: Jennifer L. Thurston
14    PAUL NEW,
15                    Defendant.
16
17           IT IS HEREBY STIPULATED, by and between the parties, through their respective
18    counsel, Assistant United States Attorney Michael Tierney, counsel for plaintiff, and Assistant
19    Federal Defender Christina M. Corcoran, counsel for defendant Paul New, that the status
20    conference on June 12, 2024, be continued to August 14, 2024.
21           This matter is currently scheduled for a status conference on June 12, 2024. Doc. 67. On
22    May 22, 2024, the Court directed counsel for the United States and defendant New to file a joint
23    status report; or in the alternative, to file a stipulation to continue the status conference. Counsel
24    for the United States and defendant New have agreed that further time is necessary for defense
25    investigation, review of discovery, and potential plea negotiations. The parties have therefore
26    agreed to stipulate to a continuance of the status conference. The parties anticipate that they will
27    be ready by the time of the next status conference to either resolve the case or set for trial. The
28    government does not oppose this request.
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1                                                 Respectfully submitted,
2                                                 PHILLIP A. TALBERT
                                                  United States Attorney
3
4     Date: June 6, 2024                          /s/ Michael Tierney
                                                  MICHAEL TIERNEY
5                                                 Assistant United States Attorney
                                                  Attorney for Plaintiff
6
7                                                 HEATHER E. WILLIAMS
                                                  Federal Defender
8
9     Date: June 6, 2024                          /s/ Christina M. Corcoran
                                                  CHRISTINA M. CORCORAN
10                                                Assistant Federal Defender
                                                  Attorney for Defendant
11                                                PAUL NEW
12
13
14                                               ORDER
15
             IT IS SO ORDERED that the status conference is continued from June 12, 2024, to August
16
      14, 2024, at 1:00 p.m. in Courtroom 8 before Magistrate Judge Barbara A. McAuliffe. Time
17
      is excluded pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).
18
19
      IT IS SO ORDERED.
20
         Dated:      June 6, 2024                            /s/ Barbara A. McAuliffe          _
21
                                                         UNITED STATES MAGISTRATE JUDGE
22
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27
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       New – Stipulation and [Proposed] Order        2
